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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

UNITED         STATES OF AMERICA

Vv.                                                    No. 5:25-MJ-57-BV

JOSE PENA-GARCIA


                          MOTION        FOR PRETRIAL DETENTION

          The United States asks for the pretrial detention of Defendant under Title 18,

United States Code, Sections 3142(e) and 3142(f).

          1.     Eligibility of Case. This case is eligible for a detention order under
                 18 U.S.C. § 3142(f) because it is a case that involves:

                         A crime of violence as defined in 18 U.S.C. § 3156(a)(4), violation
                         of section 1591, or federal crime of terrorism for which the
                         maximum sentence is 10 years or more. (18 U.S.C. § 3142(f(1)(A)).
                         An offense for which the maximum sentence is life imprisonment or
                         death. (18 U.S.C. § 3142(f)(1)(B)).
                         A Controlled Substances Act offense for which the maximum
                         sentence is 10 years or more. (18 U.S.C. § 3142(H(1)(C)).
                         A felony that was committed after the defendant had been convicted
                         of two or more prior federal offenses described in 18 U.S.C.
                         § 3142(f(1)(A)-(C), or comparable state or local offenses. (18
                        U.S.C. § 3142(HC1)(D)).
                        A felony that involves a minor victim or failure to register as a sex
                        offender. (18 U.S.C § 3142(f)(1)(E)).
                        A felony that involves the possession or use of a firearm, destructive
                         device, or any other dangerous weapon. (18 U.S.C § 3142(H(1)(E)).
                   X_   A serious risk defendant will flee. (18 U.S.C. § 3142(f)(2)(A)).
                         A serious risk defendant will obstruct or attempt to obstruct justice,
                         or threaten, injure, or intimidate, or attempt to threaten, injure, or
                         intimidate a prospective witness or juror. (18 U.S.C. § 3142
                         (£)(2)(B)).

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                Reason for Detention. The Court should detain defendant, under 18 U.S.C.
                § 3142(e), because no condition or combination of conditions will
                reasonably assure:

                   X_    Defendant’s appearance as required.
                        Safety of any other person and the community.

                Rebuttable Presumption. The United States will invoke the rebuttable
                presumption against defendant under 18 U.S.C. § 3142(e). The
                presumption applies because there is:

                        A Controlled Substances Act offense for which the maximum
                        sentence is 10 years or more. (18 U.S.C. § 3142(e)(3)(A)).
                        An offense under Title 18, United States Code, Sections 924(c),
                        956(a), or 2332b. (18 U.S.C. § 3142(e)(3)(B)).
                        A federal crime of terrorism for which the maximum sentence is 10
                        years or more. (18 U.S.C. § 3142(e)(3)(C)).
                        An offense in Chapter 77 of Title 18 (human trafficking) for which
                        the maximum sentence is 20 years or more. (18 U.S.C.
                        § 3142(e)(3)(D))
                        Previous conviction for “eligible” offense committed while on
                        pretrial bond.   (18 U.S.C. § 3142(e)(2)).
                        A qualifying offense involving a minor victim.    (18 U.S.C.
                        § 3142(e)(3)(E)).
                Time for Detention Hearing.       The United States requests the Court conduct
                the detention hearing:

                        At first appearance.
                        After continuance of three days.
                   X_   Moot at this time, as an immigration detainer is in place against
                        defendant. Hearing requested if detention becomes a viable issue.




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                                            Respectfully submitted,

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                                            ACTING UNITED STATES ATTORNEY
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